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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                                TRENTON DIVISION

     MAKSUDUR GAZI, individually and on
     behalf of similarly situated persons,

                          Plaintiff,
                                                    Case No. _____________
             v.
                                                    Jury Demanded
     MSNF FOODS LLC d/b/a DOMINO'S
     PIZZA, MSNF FOODS 4 LLC, MSNF
     FOODS 5 LLC, MSNF FOODS
     BETHEL    LLC,  MSNF       FOODS
     DANBURY LLC, MSNF FOODS
     DUMONT LLC, MSNF FOODS
     EDISON   LLC,   MSNF       FOODS
     ELMWOOD LLC, MSNF FOODS
     FAIRLAWN LLC, MSNF FOODS
     FRANKLIN LLC, MSNF FOODS
     HACKETTSTOWN      LLC,      MSNF
     FOODS    HILLSBOROUGH        LLC,
     MSNF FOODS II LLC, MSNF FOODS
     III LLC, MSNF FOODS KEARNY
     LLC, MSNF FOODS LEDGEWOOD
     LLC, MSNF FOODS NEW MILFORD
     LLC, MSNF FOODS NIAGARA LLC,
     MSNF FOODS NORWOOD LLC,
     MSNF FOODS SHELTON LLC, MSNF
     FOODS SOUTH BOUND BROOK
     LLC, MSNF FOODS WESTWOOD
     LLC, MSNF FOODS RARITAN, LLC,
     MSNF FOODS MANAGEMENT, LLC,
     and MASSOUD ANSARI, individually,
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                          Defendants.




        COMPLAINT FOR VIOLATIONS OF THE FAIR LABOR STANDARDS
           ACT OF 1938 AND NEW JERSEY WAGE AND HOUR LAWS

       Plaintiff Maksudur Gazi (“Plaintiff”), individually and on behalf of all other similarly

situated delivery drivers, brings this Complaint against Defendants MSNF FOODS LLC d/b/a

Domino’s Pizza, MSNF FOODS 4 LLC, MSNF FOODS 5 LLC, MSNF FOODS BETHEL LLC,

MSNF FOODS DANBURY LLC, MSNF FOODS DUMONT LLC, MSNF FOODS EDISON

LLC, MSNF FOODS ELMWOOD LLC, MSNF FOODS FAIRLAWN LLC, MSNF FOODS

FRANKLIN       LLC,     MSNF     FOODS        HACKETTSTOWN          LLC,     MSNF     FOODS

HILLSBOROUGH LLC, MSNF FOODS II LLC, MSNF FOODS III LLC, MSNF FOODS

KEARNY LLC, MSNF FOODS LEDGEWOOD LLC, MSNF FOODS NEW MILFORD LLC,

MSNF FOODS NIAGARA LLC, MSNF FOODS NORWOOD LLC, MSNF FOODS

SHELTON LLC, MSNF FOODS SOUTH BOUND BROOK LLC, MSNF FOODS

WESTWOOD LLC, MSNF FOODS RARITAN, LLC, MSNF FOODS MANAGEMENT, LLC,

and Massoud Ansari, and alleges as follows:

       1.     Defendants operate numerous Domino’s Pizza franchise stores. Defendants

employ delivery drivers who use their own automobiles to deliver pizzas and other food items to

their customers. However, instead of reimbursing delivery drivers for the reasonably

approximate costs of the business use of their vehicles, Defendants use a flawed method to

determine reimbursement rates that provides such an unreasonably low rate beneath any

reasonable approximation of the expenses they incur that the drivers’ unreimbursed expenses

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cause their wages to fall below the federal minimum wage during some or all workweeks

(nominal – unreimbursed vehicle costs = subminimum net wages).

       2.       Plaintiff brings this lawsuit as a collective action under the Fair Labor Standards

Act (“FLSA”), 29 U.S.C. § 201 et seq., and as a class action for violations under the New Jersey

State Wage and Hour Law, N.J.S.A. §§ 34:11-56a et seq., and the supporting regulations, N.J.

Admin. Code §§ 12:56 et seq. (collectively, the “NJSWHL”), and common law to recover unpaid

minimum wages and overtime hours owed to himself and similarly situated delivery drivers

employed by Defendants at their Domino’s Pizza stores.

                                      Jurisdiction and Venue

       3.       The FLSA authorizes court actions by private parties to recover damages for

violations of its wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claim is based on

29 U.S.C. § 216(b) and 28 U.S.C. § 1331 (federal question).

       4.       Venue in this District is proper under 28 U.S.C. § 1391 because Plaintiff resides

in this District, Defendants employed Plaintiff in this District, Defendants operate Domino’s

Pizza franchise stores in this District, and a substantial part of the events giving rise to the claims

herein occurred in this District.

                                               Parties

       5.       Defendant, MSNF Foods LLC, d/b/a Domino’s Pizza, is authorized to conduct

business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       6.       Defendant, MSNF Foods 4 LLC, d/b/a Domino’s Pizza, is authorized to conduct

business and is conducting business in the State of New Jersey and may be served via its



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registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       7.       Defendant, MSNF Foods 5 LLC, d/b/a Domino’s Pizza, is authorized to conduct

business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       8.       Defendant MSNF Foods Bethel LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of Connecticut and may be served via

its registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       9.       Defendant MSNF Foods Danbury LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of Connecticut and may be served via

its registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       10.      Defendant MSNF Foods Dumont LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       11.      Defendant MSNF Foods Edison LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.




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       12.      Defendant MSNF Foods Elmwood LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       13.      Defendant MSNF Foods Fairlawn LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       14.      Defendant MSNF Foods Franklin LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       15.      Defendant MSNF Foods Hackettstown LLC, d/b/a Domino’s Pizza, is authorized

to conduct business and is conducting business in the State of New Jersey and may be served via

its registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       16.      Defendant MSNF Foods Hillsborough LLC, d/b/a Domino’s Pizza, is authorized

to conduct business and is conducting business in the State of New Jersey and may be served via

its registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       17.      Defendant MSNF Foods II LLC, d/b/a Domino’s Pizza, is authorized to conduct

business and is conducting business in the State of New Jersey and may be served via its




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registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       18.      Defendant MSNF Foods III LLC, d/b/a Domino’s Pizza, is authorized to conduct

business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       19.      Defendant MSNF Kearny LLC, d/b/a Domino’s Pizza, is authorized to conduct

business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       20.      Defendant MSNF Foods Ledgewood LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       21.      Defendant MSNF Foods Management LLC, d/b/a Domino’s Pizza, is authorized

to conduct business and is conducting business in the State of New Jersey and may be served via

its registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       22.      Defendant MSNF Foods New Milford LLC, d/b/a Domino’s Pizza, is authorized

to conduct business and is conducting business in the State of New Jersey and may be served via

its registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.




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       23.      Defendant MSNF Foods Niagara LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       24.      Defendant MSNF Foods Norwood LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       25.      Defendant MSNF Foods Raritan LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       26.      Defendant MSNF Foods Shelton LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its

registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

       27.      Defendant MSNF Foods South Bound Brook LLC, d/b/a Domino’s Pizza, is

authorized to conduct business and is conducting business in the State of New Jersey and may be

served via its registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or

wherever he may be found.

       28.      Defendant MSNF Foods Westwood LLC, d/b/a Domino’s Pizza, is authorized to

conduct business and is conducting business in the State of New Jersey and may be served via its




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registered agent, Massoud Ansari, at 286 Greenwood Ave, Bethel, CT 06801, or wherever he

may be found.

        29.     Defendant, Massoud Ansari is individually liable because, during the relevant

times, he was an owner of substantial interests in Defendant, served as officer of the entity, and

held managerial responsibilities and substantial control over terms and conditions of drivers’

work as they held the power to hire and fire, supervised and controlled work schedules and/or

conditions of employment, determined rates and methods of pay and/or expense reimbursements,

and maintained employment records and/or held control over employment records. Defendant

Massoud Ansari may be served at 286 Greenwood Ave, Bethel, CT 06801, or wherever he may

be found.

        30.     Plaintiff Maksudur Gazi was employed by Defendants from approximately March

2017 until March 2020 as a delivery driver at Defendants’ Domino’s Pizza store located at 135

State Route 27, Edison, NJ 01820, which is located within this District.

        31.     Plaintiff’s consent to pursue this claim under the FLSA and applicable state law is

attached to this Original Complaint as “Exhibit 1.”

                                        General Allegations

                                        Defendants’ Business

        32.     Defendants own and operate numerous Domino’s Pizza franchise stores,

including stores within this District and this Division.

        33.     Massoud Ansari is an owner, officer, and director of MSNF Foods LLC. In this

capacity, Mr. Ansari put the pay scheme at issue in place, has overseen and enforced Defendants’

pay practices, and is, therefore, individually liable for the violations at issue.




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       34.     Defendants’ Domino’s Pizza stores employ delivery drivers who all have the

same primary job duty: to deliver pizzas and other food items to customers’ homes or

workplaces.

                    Defendants’ Flawed Automobile Reimbursement Policy

       35.     Defendants require their delivery drivers to maintain and pay for safe, legally-

operable, and insured automobiles when delivering pizzas and other food items.

       36.     Defendants’ delivery drivers incur costs for gasoline, vehicle parts and fluids,

repair and maintenance services, insurance, depreciation, and other expenses (“automobile

expenses”) while delivering pizzas and other food items for the primary benefit of Defendants.

       37.     Defendants’ delivery driver reimbursement policy reimburses drivers on a per-

delivery basis, but the per-delivery reimbursement equates to below the IRS business mileage

reimbursement rate or any other reasonable approximation of the cost to own and operate a

motor vehicle. This policy applies to all of Defendants’ delivery drivers.

       38.     The result of Defendants’ delivery driver reimbursement policy is a

reimbursement of much less than a reasonable approximation of its drivers’ automobile

expenses.

       39.     During the applicable FLSA limitations period, the IRS business mileage

reimbursement rate ranged between $.535 and $.58 per mile. Likewise, reputable companies that

study the cost of owning and operating a motor vehicle and/or reasonable reimbursement rates,

including AAA, have determined that the average cost of owning and operating a vehicle ranged

between $.532 and $.571 per mile during the same period for drivers who drive a sedan 15,000

miles per year. These figures represent a reasonable approximation of the average cost of owning

and operating a vehicle for business use.



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       40.     The driving conditions associated with the pizza delivery business cause even

more frequent and higher maintenance costs and more rapid depreciation from driving as much

as, and in the manner of, a delivery driver. Defendants’ delivery drivers experience lower gas

mileage and higher repair costs than the average driver used in the above calculations. The nature

of the delivery business includes frequent starting and stopping of the engine, frequent braking,

short routes as opposed to highway driving, and driving under time pressures.

       41.     Defendants’ reimbursement policy does not reimburse delivery drivers for even

their ongoing out-of-pocket expenses, much less other costs they incur to own and operate their

vehicle, and thus Defendants uniformly fail to reimburse their delivery drivers at any reasonable

approximation of the cost of owning and operating their vehicles for Defendants’ benefit.

       42.     Defendants’ systematic failure to adequately reimburse automobile expenses

constitutes a “kickback” to Defendants such that the hourly wages paid to Plaintiff and

Defendants’ other delivery drivers are not paid free and clear of all outstanding obligations to

Defendants.

       43.     Defendants fail to reasonably approximate the amount of their drivers’ automobile

expenses to such an extent that their drivers’ net wages are diminished beneath the federal

minimum wage requirements.

       44.     In sum, Defendants’ reimbursement policy fails to reflect the realities of delivery

drivers’ automobile expenses.

              Defendants’ Failure to Reasonably Reimburse Automobile Expenses
                              Causes Minimum Wage Violations

       45.     Regardless of the precise amount of the per-mile reimbursement at any given

point in time, Defendants’ reimbursement formula has resulted in an unreasonable




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underestimation of delivery drivers’ automobile expenses throughout the recovery period,

causing systematic violations of the federal minimum wage.

       46.     Plaintiff was paid 6.00 per hour while making deliveries during his employment

with Defendants, including a tip credit applicable to the time he performed deliveries, and $11.00

while in the store.

       47.     The federal minimum wage has been $7.25 per hour since July 24, 2009. The

New Jersey minimum wage has been $12.00 per hour since January 1, 2021.

       48.     During the time Plaintiff worked for Defendants as a delivery driver, he was

reimbursed just $1.00 per delivery and on average drove Plaintiff’s average drove 5-10 miles per

delivery, round-trip. This means Plaintiff was getting paid between $.20 and $.10 per mile ($1.00

divided by 5 and 10 miles respectively).

       49.      During the relevant time period, the IRS business mileage reimbursement rate

ranged between $.545 and $.58 per mile, which reasonably approximated the automobile

expenses incurred delivering pizzas. http://www.irs.gov/Tax-Professionals/Standard-Mileage-

Rates. Using the lowest IRS rate and the highest per mile rate Plaintiff was making per mile

driven ($.20) in effect during that period as a reasonable approximation of Plaintiff’s

automobile expenses, every mile driven on the job decreased his net wages by at least $0.345

($.545 - $.20) per mile.

       50.     During his employment by Defendants, Plaintiff regularly made 3 or more

deliveries per hour. Thus using a conservative under-estimate of Plaintiff’s actual expenses and

damages, every hour on the job decreased Plaintiff’s net wages by approximately $5.18 ($.345

per mile x 3 deliveries per hour x 5 miles per delivery = $4.14), resulting in a net hourly wage




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rate of approximately $.82 ($6.00 nominal hourly pay rate - $5.18 per hour “kickback” = $.82 net

hourly wage).

       51.      All of Defendants’ delivery drivers had similar experiences to those of Plaintiff.

They were subject to the same reimbursement policy; received similar reimbursements; incurred

similar automobile expenses; completed deliveries of similar distances and at similar

frequencies; and were paid at or near the federal minimum wage before deducting unreimbursed

business expenses.

       52.      Because Defendants paid their drivers a gross hourly wage at or above the federal

minimum wage, and because the delivery drivers incurred unreimbursed automobile expenses,

the delivery drivers “kicked back” to Defendants an amount sufficient to cause minimum wage

violations.

       53.      While the amount of Defendants’ actual reimbursements per delivery may vary

over time, Defendants are relying on the same flawed policy and methodology with respect to all

delivery drivers at all of their other Domino’s Pizza stores. Thus, although reimbursement

amounts may differ somewhat by time or region, the amounts of under-reimbursements relative

to automobile costs incurred are relatively consistent between time and region.

       54.      Defendants’ low reimbursement rates were a frequent complaint of Defendants’

delivery drivers, yet Defendants continued to reimburse at a rate much less than any reasonable

approximation of delivery drivers’ automobile expenses.

       55.      The net effect of Defendants’ flawed reimbursement policy is that Defendants

have willfully failed to pay the federal minimum wage to their delivery drivers. Defendants

thereby enjoy ill-gained profits at the expense of their employees.




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                                Class and Collective Action Allegations

       56.     Plaintiff brings this FLSA claim as an “opt-in” collective action on behalf of

similarly situated delivery drivers pursuant to 29 U.S.C. § 216(b).

       57.     The FLSA claims may be pursued by those who opt-in to this case pursuant to 29

U.S.C. § 216(b).

       58.     Plaintiff, individually and on behalf of other similarly situated employees, seeks

relief on a collective basis challenging Defendants’ practice of failing to pay employees the

federal minimum wage. The number and identity of other plaintiffs yet to opt-in may be

ascertained from Defendants’ records, and potential class members may be notified of the

pendency of this action via mail and electronic means.

       59.     Plaintiff and all of Defendants’ delivery drivers are similarly situated in that:

       a.      They have worked as delivery drivers for Defendants delivering pizzas and other

       food items to Defendants’ customers;

       b.      They have delivered pizzas and other food items using automobiles not owned or

       maintained by Defendants;

       c.      Defendants required them to maintain these automobiles in a safe, legally-

       operable, and insured condition;

       d.      They incurred costs for automobile expenses while delivering pizzas and food

       items for the primary benefit of Defendants;

       e.      They were subject to similar driving conditions, automobile expenses, delivery

       distances, and delivery frequencies;

       f.      They were subject to the same pay policies and practices of Defendants;




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       g.      They were subject to the same delivery driver reimbursement policy that

       underestimates automobile expenses per mile, and thereby were systematically deprived

       of reasonably approximate reimbursements, resulting in wages below the federal

       minimum wage in some or all workweeks;

       h.      They were reimbursed similar set amounts of automobile expenses per delivery;

       and

       i.      They were paid at or near the federal minimum wage before deducting

       unreimbursed business expenses.

       60.     Plaintiff brings Count II as a class action pursuant to Fed. R. Civ. P. 23, on behalf

of himself and as the Class Representatives of the following persons (the “Class”):

               All current and former delivery drivers employed by Defendants since the
               date six years preceding the filing of this Complaint. See N.J. Stat. §
               34:11-56a25.1

       61.     The state law claims, if certified for class-wide treatment, are brought on behalf of

all similarly situated persons who do not opt-out of the Class.

       62.     The Class satisfies the numerosity standards as it consists of hundreds of persons

who are geographically dispersed and, therefore, joinder of all Class members in a single action

is impracticable.

       63.     Questions of fact and law common to the Class predominate over any questions

affected only individual members. The questions of law and fact common to the Class arising

from Defendants’ actions include, without limitation:

               a. Whether Defendants failed to pay Class members the minimum wage required

               by New Jersey law,




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               b. Whether Defendants failed to reasonably reimburse Class members for using

               their own vehicles to deliver Defendants’ pizzas and other food items,

               c. Whether Defendants’ formula and / or methodology used to calculate the

               payment of reimbursement for vehicle expenses resulted in unreasonable under-

               reimbursement of the Class members, and

               d. Whether Defendants failed to keep accurate records of deductions from Class

               members’ wages in violation of New Jersey law.

       64.     The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness, and equity to other available methods for the fair and efficient

adjudication of the state law claims.

       65.     Plaintiff’s claim is typical of those of the Class in that:

               a. Plaintiff and the Class have worked as delivery drivers for Defendants

               delivering pizza and other food items to Defendants’ customers;

               b. Plaintiff and the Class delivered pizza and food items using automobiles not

               owned or maintained by Defendants;

               c. Defendants required Plaintiff and the Class to maintain these automobiles in a

               safe, legally-operable, and insured condition;

               d. Plaintiff and the Class incurred costs for automobile expenses while delivering

               pizzas and food items for the primary benefit of Defendants;

               e. Plaintiff and the Class were subject to similar driving conditions, automobile

               expenses, delivery distances, and delivery frequencies;




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               f. Plaintiff and the Class were subject to the same pay policies and practices of

               Defendants;

               g. Plaintiff and the Class were subject to the same delivery driver reimbursement

               policy that underestimates automobile expenses per mile, and are thereby

               systematically deprived of reasonably approximate reimbursements, resulting in

               wages below the federal minimum wage in some or all workweeks;

               h. Plaintiff and the Class were reimbursed similar set amounts of automobile

               expenses per delivery; and

               i. Plaintiff and the Class were paid at or near New Jersey minimum wage before

               deducting unreimbursed business expenses.

         66.   A class action is the appropriate method for the fair and efficient adjudication of

this controversy. Defendants have acted or refused to act on grounds generally applicable to the

Class.

         67.   Plaintiff is an adequate representative of the Class because he is a member of the

Class and his interests do not conflict with the interest of the members of the Class he seeks to

represent. The interests of the members of the Class will be fairly and adequately protected by

Plaintiff and the undersigned counsel, who have extensive experience prosecuting complex wage

and hour, employment, and class action litigation.

         68.   Maintenance of this action as a class action is superior to other available methods

for fairly and efficiently adjudicating the controversy as members of the Class have little interest

in individually controlling the prosecution of separate class actions, no other litigation is pending

over the same controversy, it is desirable to concentrate the litigation in this Court due to the




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relatively small recoveries per member of the Class, and there are no material difficulties

impairing the management of a class action.

       69.     It would be impracticable and undesirable for each member of the Class who

suffered harm to bring a separate action. In addition, the maintenance of separate actions would

place a substantial and unnecessary burden on the courts and could result in inconsistent

adjudications, which a single class action can determine, with judicial economy, the rights of all

Class members.

                  Count I: Violation of the Fair Labor Standards Act of 1938

       70.     Plaintiff reasserts and re-alleges the allegations set forth above.

       71.     The FLSA regulates, among other things, the payment of minimum wage by

employers whose employees are engaged in interstate commerce, or engaged in the production of

goods for commerce, or employed in an enterprise engaged in commerce or in the production of

goods for commerce. 29 U.S.C. §206(a).

       72.     Defendants are subject to the FLSA’s minimum wage requirements because

Defendant MSNF Foods, LLC is an enterprise engaged in interstate commerce, and their

employees are engaged in commerce.

       73.     At all relevant times herein, Plaintiff and all other similarly situated delivery

drivers have been entitled to the rights, protections, and benefits provided under the FLSA, 29

U.S.C. §§ 201, et seq.

       74.     Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain categories

of employees from federal minimum wage obligations. None of the FLSA exemptions apply to

Plaintiff or other similarly situated delivery drivers.




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        75.    Under Section 6 of the FLSA, codified at 29 U.S.C. § 206, employees have been

entitled to be compensated at a rate of at least $7.25 per hour since July 24, 2009.

        76.    As alleged herein, Defendants have reimbursed delivery drivers less than the

reasonably approximate amount of their automobile expenses to such an extent that it diminishes

these employees’ wages beneath the federal minimum wage.

        77.    Defendants knew or should have known that their pay and reimbursement policies

and practices would result in a failure to compensate delivery drivers at the federal minimum

wage.

        78.    Defendants, pursuant to their policies and practices, violated the FLSA by

refusing and failing to pay federal minimum wage to Plaintiff and other similarly situated

employees.

        79.    Plaintiff and all similarly situated delivery drivers are victims of a uniform and

employer-based compensation and reimbursement policy. This uniform policy, in violation of

the FLSA, has been applied, and continues to be applied, to all delivery driver employees in

Defendants’ Domino’s Pizza stores.

        80.    Plaintiff and all similarly situated employees are entitled to damages equal to the

minimum wage minus actual wages received after deducting reasonably approximated

automobile expenses within six years from the date each Plaintiff joins this case, plus periods of

equitable tolling, because Defendants acted willfully, or at least demonstrated reckless disregard

for whether their conduct was unlawful.

        81.    Defendants have acted neither in good faith nor with reasonable grounds to

believe that their actions and omissions were not a violation of the FLSA, and as a result,

Plaintiff and other similarly situated employees are entitled to recover an award of liquidated



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damages in an amount equal to the amount of unpaid minimum wages under 29 U.S.C. § 216(b).

Alternatively, should the Court find Defendants not liable for liquidated damages, Plaintiff and

all similarly situated employees are entitled to an award of prejudgment interest at the applicable

legal rate.

        82.    As a result of the aforesaid willful violations of the FLSA’s minimum wage

provisions, minimum wage compensation has been unlawfully withheld by Defendants from

Plaintiff and all similarly situated employees. Accordingly, Defendants are liable under 29

U.S.C. § 216(b), together with an additional amount as liquidated damages, pre-judgment and

post-judgment interest, reasonable attorneys’ fees, and costs of this action.

                              Count II: Violation of the NJSWHL

        83.    Plaintiff reasserts and re-alleges the allegations set forth above.

        84.    At all relevant times, Defendants have been and continue to be an “employer”

within the meaning of the NJSWHL. N.J.S.A. § 34:11-56a1.

        85.    At all relevant times, Defendants have employed, and continues to employ,

“employees”, including Plaintiff, within the meaning of the NJSWHL. Id.

        86.    Plaintiff was an employee of Defendants within the meaning of the NJSWHL. Id.

        87.    Pursuant to the NJSWHL the Defendants were required to pay Plaintiff and the

Putative Plaintiffs all wages, when due, for all hours of work at hourly rates equal to the

minimum wage rate under the NJSWHL on their regular pay date. N.J.S.A. § 34:11-56a4.

        88.    Defendants were required to provide employees with advanced notice for wage

deductions permissible. N.J.S.A. § 34:11-56a16.




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       89.     Defendants failed to pay Plaintiff and the Putative Plaintiffs reimbursements for

travel expenses “as all wages earned” or “every wage paid” under the NJSWHL and thus failed

to comply with this statute and its accompanying administrative code. Id.

       90.     As alleged herein, Defendants have reimbursed delivery drivers less than the

reasonably approximate amount of their automobile expenses to such an extent that it diminishes

these employees’ wages beneath the New Jersey minimum wage.

       91.     Defendants knew or should have known that their pay and reimbursement policies

and practices would result in a failure to compensate delivery drivers at the New Jersey

minimum wage.

       92.     Defendants, pursuant to their policies and practices, violated the NJSWHL by

refusing and failing to pay New Jersey minimum wage to Plaintiff and other similarly situated

employees.

       93.     The foregoing conduct, as alleged, constitutes willful violations of the NJSWHL.

As set forth above, the Plaintiff and the Putative Plaintiffs have sustained losses and lost

compensation as a proximate result of Defendants’ violations. Accordingly, Plaintiff on behalf of

himself and the Putative Plaintiffs, seek damages in the amount of their unpaid earned

compensation, liquidated damages, plus interest from the date each amount came due. N.J.S.A. §

34:11-56a25.

       94.     As a result of the foregoing conduct, as alleged, Defendants have failed to pay

wages due under the NJSWHL and the FLSA, thereby violating, and continuing to violate, the

NJSWHL.

       95.     Plaintiff, on behalf of himself and the Putative Plaintiffs, seeks recovery of his

attorneys’ fees.



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                                   Count III: Unjust Enrichment

        96.     Plaintiff reasserts and re-alleges the allegations set forth above.

        97.     Plaintiff conferred a benefit upon Defendants by working on their behalf without

compensation.

        98.     Defendants had an appreciation or knowledge of the benefit conferred by

Plaintiff.

        99.     Defendants accepted and retained the benefit under such circumstances as to

make it inequitable for Defendants to retain the benefit without payment of its value.

        100.    Plaintiff is entitled to recover the value of the benefit conferred on Defendants.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs and the Putative Plaintiffs collectively demand judgment

against Defendants and pray for: (1) compensatory damages; (2) liquidated damages, (3) costs of

litigation and attorney’s fees as provided by law; (4) pre-judgment and post-judgment interest as

provided by law; and (5) such other relief as the Court deems fair and equitable.

                                       Demand for Jury Trial

        Plaintiff hereby requests a trial by jury of all issues triable by jury.


        DATED June 16, 2021

                                                Respectfully submitted,

                                                BROWN, LLC

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